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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

KATHERINE BERNHARDT,                                    )
                                                        )
                  Plaintiff,                            )        Case No. 4:21-CV-00870
                                                        )
v.                                                      )        JURY TRIAL DEMANDED
                                                        )
CITY OF ST. LOUIS,                                      )
                                                        )
                  Defendant.                            )

      DEFENDANT CITY OF ST. LOUIS’S MEMORANDUM OF LAW IN SUPPORT OF
                           ITS MOTION TO DISMISS

         COMES NOW Defendant City of St. Louis (“City”), and in support of its Motion to

Dismiss, states as follows:

                                                INTRODUCTION

         Plaintiff Katherine Bernhardt (“Plaintiff”) brings this six-count complaint against City after

it painted over graffiti on her property in July 2020. City’s Graffiti Ordinance (“Ordinance”)

declares graffiti a public nuisance, and makes it “unlawful for any person to place graffiti upon

any public or private property within the City of St. Louis,” and “unlawful for any person to

maintain graffiti that has been placed upon…any surface within that person’s control…when that

graffiti is visible from a public street….” Ex. A, Ordinance 66934, codified as St. Louis, Mo. Mun.

Code § 15.77.030.1




1A district court may take judicial notice of public records and may thus consider them on a motion to dismiss. Stahl
v. United States Dep't of Agric., 327 F.3d 697, 700 (8th Cir. 2003). Local ordinances are public records of which a
district court may take judicial notice. See Weed v. Jenkins, 873 F.3d 1023, 1028 (8th Cir. 2017) (recognizing that a
court may take judicial notice of local ordinances and city charters) (citing Crooks v. Lynch, 557 F.3d 846, 848 (8th
Cir. 2009) (recognizing this court may take judicial notice of public records); Newcomb v. Brennan, 558 F.2d 825,
829 (7th Cir.1977) (“[M]atters of public record such as state statutes, city charters, and city ordinances fall within the
category of ‘common knowledge’ and are therefore proper subjects for judicial notice.”)).

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         Plaintiff brings four claims under 42 U.S.C. § 1983, alleging the Ordinance violates her

First Amendment right to free speech and expressive conduct and Fourteenth Amendment due

process rights. Plaintiff also alleges that City’s action violated her rights under the Visual Arts

Rights Act of 1990 (VARA), and further alleges a state law claim for tortious injury to property.

For reasons set forth below, Plaintiff’s Complaint fails to state a claim upon which relief can be

granted and should be dismissed.

                                       LEGAL STANDARD

         To survive a Rule 12(b)(6) motion to dismiss, a complaint must allege facts sufficient “to

state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

570 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Although the pleading standard is

liberal, the plaintiff must allege facts—not mere legal conclusions—that, if true, would support

the existence of the claimed torts.” Moses.com Securities v. Comprehensive Software Systems,

Inc., 406 F.3d. 1052, 1062 (8th Cir. 2005) (citing Schaller Tel. Co. v. Golden Sky Systems, 298

F.3d. 736, 740 (8th Cir. 2002)).

         While a complaint challenged by a Rule 12(b)(6) motion does not need detailed factual

allegations, a plaintiff must still provide the grounds for relief, and neither “labels and conclusions”

nor “a formulaic recitation of the elements of a cause of action” will suffice. Twombly, 550 U.S.

at 545. “‘Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice’ to defeat a motion to dismiss.” Iqbal, 556 U.S. at 678 (citing Twombly,

550 U.S. at 556).

                                            ARGUMENT

    I.      City’s Ordinance as applied to Plaintiff did not violate her First and Fourteenth
            Amendment rights (Count II), nor is City’s Ordinance facially invalid (Count I).




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       The First Amendment states in part: “Congress shall make no law…abridging the freedom

of speech.” U.S. Const. amend. I. The First Amendment is applicable to the states, including

municipal governments vested with state authority, through the Fourteenth Amendment. Reed v.

Town of Gilbert, 576 U.S. 155, 162 (2015). While the Supreme Court has found protection for a

broad array of artistic expression, including music, theater, and film, it has not provided blanket

protection for all visual art. See White v. City of Sparks, 341 F. Supp. 2d 1129, 1138 (D. Nev.

2004) (citing Ward v. Rock Against Racism, 491 U.S. 781, 790 (1989) (music without regard to

words); Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546, 557-58 (1975) (theater); Joseph

Burstyn, Inc. v. Wilson, 343 U.S. 495, 501-02 (film)); see also Metromedia, Inc. v. City of San

Diego, 453 U.S. 490, 549-550 (STEVENS, J., dissenting in part) (ban on graffiti constitutionally

permissible).

           a. Plaintiff’s as-applied challenge to City’s Ordinance fails as a matter of law
              (Count II).
       When analyzing the constitutionality of an ordinance under the First Amendment,

the Court must first determine if the ordinance is “content-neutral.” Ward, 491 U.S. at 791. “A

regulation that serves purposes unrelated to the content of expression is deemed neutral, even if it

has an incidental effect on some speakers or messages but not others.” Id. Because City’s

Ordinance serves purposes unrelated to the content of expression, it is neutral. See Ex. A.

       If an ordinance is content-neutral, intermediate scrutiny is applied. ILQ Invs. v. City of

Rochester, 25 F.3d 1413, 1416 (8th Cir. 1994). As part of the intermediate scrutiny analysis, the

Court must consider whether the regulation is narrowly tailored to serve the articulated

governmental interest. Phelps-Roper v. City of Manchester, Mo., 697 F.3d 678, 686 (8th Cir.

2012); Excalibur Grp., Inc. v. City of Minneapolis, 116 F.3d 1216, 1220 (8th Cir. 1997). To be

“narrowly tailored,” the regulation need not be the least restrictive means of serving a


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county’s content-neutral interest. Excalibur Grp., 116 F.3d at 1221. Rather, “the narrow tailoring

requirement is satisfied so long as the . . . [content-neutral] regulation promotes a substantial

governmental interest that would be achieved less effectively absent the regulation.” Ward, 491

U.S. at 798 (emphasis added); see also Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288,

299 (1984) (rejecting argument that a regulation banning sleeping in a park was unconstitutional

because there are less speech-restrictive alternatives that could satisfy the government interest in

preserving park lands).

       Courts have routinely held that public safety, aesthetics, and reducing blight are significant

governmental interests. See Metromedia, Inc. v. City of San Diego, 453 U.S. 490, 507-08 (1981)

(safety and appearance of city are substantial government goals); Members of City Council v.

Taxpayers for Vincent, 466 U.S. 789, 805 (1984) (removing blight and aesthetics are significant

government interests); Jacobsen v. Harris, 869 F.2d 1172, 1174 (8th Cir. 1989) (city regulation

limiting newsrack size, type, and location served significant government interests of safety

and aesthetics).

       The Ordinance serves substantial governmental interests. The Ordinance was enacted by

the legislative body of the City of St. Louis to “reduce blight and deterioration within the City of

St. Louis,” “to protect public health and safety,” “to prevent the further spread of graffiti,” and for

“aesthetic purposes.” Ex. A, at *1. Plaintiff makes no allegations about why the Ordinance was

enacted or what government purpose it may serve. Even if Plaintiff took issue with City’s cited

interest, “it is a familiar principle of constitutional law that [courts] will not strike down an

otherwise constitutional statute on the basis of an alleged illicit legislative motive.” United States

v. O'Brien, 391 U.S. 367, 383 (1968). “As the Court long ago stated: ‘The decisions of this court

from the beginning lend no support whatever to the assumption that the judiciary may restrain the



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exercise of lawful power on the assumption that a wrongful purpose or motive has caused the

power to be exerted.’” Id. (quoting McCray v. United States, 195 U.S. 27, 56 (1904). In Flemming

v. Nestor, 363 U.S. 603 (1960), the Court said “that only the clearest proof could suffice to establish

the unconstitutionality of a statute” on the ground that “a punitive purpose in fact lay behind the

statute.” Id. at 617. The Court stated: “Judicial inquiries into Congressional motives are at best a

hazardous matter, and when that inquiry seeks to go behind objective manifestations it becomes a

dubious affair indeed.” Id. Although the above cases dealt with Acts of Congress, the principle

they announced is equally applicable to municipal ordinances. Ambassador Books & Video v. City

of Little Rock, 20 F.3d 858, 863 (8th Cir. 1994). Because the Ordinance promotes significant

governmental interests, it passes intermediate review.

       The significant governmental interests of public safety, aesthetics, reducing blight, and

preventing the spread of graffiti would be achieved less effectively without the Ordinance, and so,

the Ordinance is narrowly tailored. The Ordinance aims to remove graffiti, calling it “obnoxious,”

a public nuisance, and “must be abated to avoid the detrimental impact of such graffiti on the City.”

It is readily apparent that without the Ordinance banning graffiti, City’s goal of eliminating graffiti

and its detrimental impact would be less effective, and thus, the Ordinance passes the “narrowly

tailored” requirement of intermediate scrutiny. See Clark, 468 U.S. at 296 (finding it readily

apparent that allowing overnight campers at a park in the Capital would be inimical to the

significant governmental interest of maintaining parks in an attractive and intact condition, and so

regulation prohibiting overnight campers was narrowly tailored).

       Plaintiff asserts that the Ordinance “prohibited Ms. Bernhardt from creating and

maintaining a work of art on her private property, while also entirely banning a common medium

of expression.” (Doc. 1 ¶ 52). But the First Amendment does not guarantee that all mediums of



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expression, like graffiti, be available to Plaintiff in all places and at all times. See Metromedia, 453

U.S., at 549-550 (STEVENS, J., dissenting in part) (ban on graffiti constitutionally permissible

even though some creators of graffiti may have no equally effective alternative means of public

expression); see also, Connection Distrib. Co. v. Reno, 154 F.3d 281, 293 (6th Cir. 1998) (“The

requirement that ample alternative channels be left available does not mean that there must be a

channel where [plaintiffs] can express themselves in precisely the same manner as before the

regulation.”); see also Heffron v. Int'l Soc'y For Krishna Consciousness, 452 U.S. 640, 647

(1981) (“The First Amendment does not guarantee the right to communicate one’s views at all

times and places and in any manner that may be desired.”); Poulos v. New Hampshire, 345 U.S.

395, 405 (1953) (“The principles of the First Amendment are not to be treated as a promise that

everyone with opinions or beliefs to express may gather around him at any public place and at any

time a group for discussion or instruction.”). Hence, despite Plaintiff’s allegations that the

Ordinance limits her means of public expression, the Ordinance passes constitutional muster

because the purposes for which it was enacted are significant governmental interests, and said

interests would be achieved less effectively without the Ordinance.

        Because the Ordinance is content-neutral, and passes intermediate review, the Ordinance

is constitutional as applied to Plaintiff and Count II should be dismissed.

            b. Plaintiff’s facial challenge to City’s Ordinance fails as a matter of law (Count
               I).
        “A facial challenge to a legislative act is . . . the most difficult challenge to mount

successfully. United States v. Salerno, 481 U.S. 739, 745 (1987). This is because they require

courts to “formulate a rule of constitutional law broader than is required by the precise facts to

which it is to be applied,” and because they “threaten to short circuit the democratic process by

preventing laws embodying the will of the people from being implemented in a manner consistent


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with the Constitution.” See Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442

(2008). For this reason, a court must first resolve a challenge to a statute as applied before

proceeding to an overbreadth issue. Bd. of Trustees v. Fox, 492 U.S. 469, 484-85 (1988). If the

Court concludes that challenged statute is invalid as applied, “it is appropriate that [the Court] not

consider the overbreadth issue” because it would constitute a “gratuitous wholesale attack upon

state and federal laws. Id.

        To prevail on a facial attack the plaintiff must demonstrate that the challenged law either

“could never be applied in a valid manner” or that even though it may be validly applied, it

nevertheless is so broad that it “may inhibit the constitutionally protected speech of third

parties.” N.Y. State Club Ass’n v. City of N.Y., 487 U.S. 1, 11 (1988). Properly understood, the

latter kind of facial challenge is an exception to ordinary standing requirements, and is justified

only by the recognition that free expression may be inhibited almost as easily by the potential or

threatened use of power as by the actual exercise of that power. Id. Both exceptions, however, are

narrow ones: the first kind of facial challenge will not succeed unless the court finds that “every

application of the statute created an impermissible risk of suppression of ideas,” and the second

kind of facial challenge will not succeed unless the statute is “substantially” overbroad, which

requires the court to find “a realistic danger that the statute itself will significantly compromise

recognized First Amendment protections of parties not before the Court.” Id.

        Here, Plaintiff fails to allege any facts which rise to the high bar of showing the Ordinance

is unconstitutional on its face. While Plaintiff alleges facts as-applied to herself, she fails entirely

to allege facts from which this Court could plausibly find that the Ordinance could never be applied

in a valid manner, nor does Plaintiff identify or describe how the Ordinance inhibits the




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constitutionally protected speech of third parties. Thus, Plaintiff has failed to state a facial

challenge to the Ordinance, and Count I should be dismissed.

   II.      The Ordinance does not violate Fourteenth Amendment due process
            requirements (Count III), nor did the Ordinance violate Plaintiff’s Fourteenth
            Amendment due process rights (Count IV).
         The Fourteenth Amendment provides that “[n]o State . . . shall . . . deprive any person of

life, liberty, or property, without due process of law.” U.S. Const. amend. XIV § 1. Due process

has both a procedural and substantive component. Schmidt v. Des Moines Pub. Sch., 655 F.3d 811,

816-17 (8th Cir. 2011). Plaintiff’s allegations in Count III & IV center on City’s alleged failure to

follow proper procedures before painting over Plaintiff’s graffiti mural, and thus, Plaintiff’s due

process claim arises under the procedural due process provision of the Fourteenth Amendment. To

state a procedural due process claim, a plaintiff must demonstrate: (1) the existence of a

constitutionally protected liberty or property interest; and (2) that the defendant deprived the

plaintiff of that interest without constitutionally adequate process. See Kroupa v. Nielsen, 731 F.3d

813, 818 (8th Cir. 2013); Schmidt, 655 F.3d at 817.

            a. The Ordinance affords proper procedural due process; thus, Plaintiff’s facial
               challenge to the Ordinance fails.
         In most cases, some type of pre-deprivation notice and hearing are constitutionally required

before invading a property interest. Lunon v. Botsford, 946 F.3d 425, 430-31 (8th Cir. 2019). But

due process, unlike some legal rules, is not a technical conception with a fixed content unrelated

to time, place and circumstances. Mathews v. Eldridge, 424 U.S. 319, 334 (1976). Due process is

flexible and calls for such procedural protections as the particular situation demands. Id. (citing

Morrissey v. Brewer, 408 U.S. 471, 481 (1972)). Accordingly, resolution of the issue whether the

procedures provided are constitutionally sufficient requires analysis of the governmental and

private interests that are affected. Id. More precisely, specific dictates of due process generally

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require consideration of three distinct factors: First, the private interest that will be affected by the

official action; second, the risk of an erroneous deprivation of such interest through the procedures

used, and the probable value, if any, of additional or substitute procedural safeguards; and finally,

the Government's interest, including the function involved and the fiscal and administrative

burdens that the additional or substitute procedural requirement would entail. Id. at 334-35.

        Plaintiff acknowledges that the Ordinance requires notification to the property owner.

(Doc. 1, ¶ 35). However, Plaintiff alleges that “a one-time, non-certified notice of the ‘nuisance’

and deeming it received after an unspecified time period does not amount to constitutionally

sufficient notice.” (Doc. 1, ¶ 55). Unfortunately for Plaintiff, there is no legal support for her

contentions. There is no legal authority, in this Circuit or otherwise, which suggests that more than

one notice is required under due process. Similarly, there is no legal authority supporting Plaintiff’s

claim that notice is insufficient if not sent by certified mail. Am. Eagle Waste Indus., LLC v. Saint

Louis Cty., No. 4:09-CV-816 CAS, 2010 U.S. Dist. LEXIS 25588, at *16 (E.D. Mo. Mar. 18,

2010) (“the Court can find no controlling authority that would require notice, via certified mail, in

order to satisfy the requirements of procedural due process under the Constitution.”). Moreover,

regulations that have deemed notice received after mailing have been upheld in this District before.

See Owens v. City of St. Louis, No. 4:03CV52 RWS, 2005 U.S. Dist. LEXIS 35687, at *16 (E.D.

Mo. Aug. 18, 2005) (ordinance’s presumption that claimant received notice after mailing was valid

even when claimant asserted she did not receive notice). Because there is no legal support for

Plaintiff’s assertions with respect to the Ordinance’s notice provisions, Plaintiff’s claims on this

point fail as a matter of law.

        Plaintiff’s allegations are equally problematic with respect to a pre-deprivation hearing.

Although a hearing is one of the hallmarks of procedural due process, it is ultimately



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only required if the circumstances “demand” it. Pesce v. City of Des Moines, 439 F. Supp. 3d 1101,

1124-25 (S.D. Iowa 2020) (citing Lunon, 946 F.3d at 430 (no hearing required before dog adopted

out and spayed)); see also, O'Leary v. Cal. Highway Patrol, No. 89-55747, 1991 U.S. App. LEXIS

510, at *3 (9th Cir. Jan. 14, 1991) (due process does not require a pre-towing hearing). Whether

circumstances demand a hearing is determined by the Mathews factors - the private interest, the

risk of erroneous deprivation, and the government’s interest. See Mathews, supra.

       The circumstances here, when analyzed under the Mathews framework, do not demand a

pre-deprivation hearing. First, as alleged by Plaintiff, “creating and maintaining mural artwork on

her private property” is the private interest affected by the official action. (Doc. 1, ¶ 50). As shown

above, however, this private interest is not without its legal limits. See discussion supra, at *5-6.

Second, the likelihood of City erroneously painting over legitimate art work, as opposed to

vandalism, is relatively low, as demonstrated by the fact that Plaintiff fails to allege any other

similar circumstances where legitimate art work was destroyed under the Ordinance. Third, as

discussed above, City’s interest to “reduce blight and deterioration within the City of St. Louis,”

“to protect public health and safety,” “to prevent the further spread of graffiti,” and to maintain

aesthetics in the City are substantial governmental interests. The additional procedural

requirements of a pre-deprivation hearing anytime City wishes to remove graffiti would be a

substantial functional and administrative burden in that City would have to determine the creator

of each graffiti marking and provide him with notice and hearing before being able to paint over

said graffiti. On the whole, City’s interests supersede Plaintiff’s private interest under Mathews,

and so, the Ordinance does not violate due process as the circumstances here do not demand a pre-

deprivation hearing.




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           b. City’s Ordinance did not violate Plaintiff’s Fourteenth Amendment due
              process rights.
       Plaintiff claims she “did not receive any notice prior to the Mural’s removal because such

notice was sent to her New York address and she was in Missouri at the time it was sent.” (Doc.

1, ¶ 63). She alleges she resides in Clayton, Missouri, but also admits that she has a New York

address. (Doc. 1, ¶ 15). With respect to notice, Plaintiff alleges that “Operation Brightside, an

agency of the City, had sent one, non-certified letter to an address she maintains in Brooklyn, New

York.” (Doc. 1, ¶ 28).

       “Prior to an action which will affect an interest in life, liberty, or property protected by the

Due Process Clause of the Fourteenth Amendment, a State must provide ‘notice reasonably

calculated, under all the circumstances, to apprise interested parties of the pendency of the action

and afford them an opportunity to present their objections.’” Mennonite Bd. of Missions v. Adams,

462 U.S. 791, 795 (1983) (citing Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306,

314 (1950)). However, due process does not require actual notice, or actual receipt of notice to

interested parties, nor does it require “heroic efforts” on the part of the government in effecting

notice. Dusenbery v. United States, 534 U.S. 161, 169 (2002).

       While “heroic efforts” are not required, some effort is naturally needed, depending on the

circumstances, to provide notice reasonably calculated to apprise interested parties of the pendency

of an action. See Jones v. Flowers 547 U.S. 220 (2006). Generally, when a notice is mailed to the

last known address of an interested party, constitutional requirements have been satisfied. See

Schwartz v. Dey, 665 S.W.2d 933, 935 (Mo. 1984). Cases reviewing the sufficiency of notice by

mail hold that only when it is obvious, or the government otherwise has reason to believe the notice

will not reach the recipient, does such fall short of the Mennonite standard. For example, in a case

involving forfeiture proceedings against an individual’s automobile, when “the State knew that


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appellant was not at the address to which the notice was mailed and, moreover, knew also that

appellant could not get to that address since he was at that very time confined in the Cook County

jail,” the court found that “[u]nder these circumstances, it cannot be said that the State made any

effort to provide notice which was ‘reasonably calculated’ to apprise appellant of the pendency of

the forfeiture proceedings.” Robinson v. Hanrahan, 409 U.S. 38, 40 (1972). Plaintiff alleges no

such facts here. More recently, in Epice Corp. v. Land Reutilization Auth., the district court

considered the adequacy of notice regarding the City of St. Louis’ demolition of a fence as a public

nuisance. No. 4:07CV206 HEA, 2007 U.S. Dist. LEXIS 38041 (E.D. Mo. May 24, 2007). In that

case, the City of St. Louis moved to dismiss plaintiff’s due process claim, arguing that the

allegations failed to establish a violation. The court denied the City’s motion to dismiss, but in

doing so, made clear that its ruling was based on the fact that, unlike in this case, the complaint

alleged the plaintiff “was never sent any notification of the obligation to abate certain conditions

regarding the fence. It further alleges that it did not receive notice of any abatement requirements,

and that it believes that if notice was sent, it was returned to the sender.” Id at *10 (emphasis

added).

          Here, City is entitled to judgment as a matter of law because Plaintiff’s complaint

establishes she was afforded appropriate notice under the Due Process Clause of the Fourteenth

Amendment. Plaintiff alleges City sent notice through the mail to one of her addresses informing

her of City’s suspicion that someone had vandalized her property with graffiti, and informing her

of intended measures to correct the vandalism. (Doc. 1, ¶¶ 28, 63). The Complaint does not allege

that the notice sent to Plaintiff’s New York address was inadequate, only that she did not receive

it. However, procedural due process does not require that Plaintiff receive notice, only that City

issue notice to Plaintiff, which Plaintiff acknowledges was done here. (Doc. 1, ¶ 63). Because



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Plaintiff fails to allege facts showing City’s notice was inadequate, and instead, complains only

that she did not receive said notice, Count IV should be dismissed.

    III.      City’s Ordinance does not violate Plaintiff’s right of integrity under the Visual
              Artists Rights Act of 1990 (Count V).
           Plaintiff’s claim for relief pursuant to VARA must be dismissed because Plaintiff has failed

to show that the graffiti mural in question was a work of recognized stature as required for relief

under VARA.

           Plaintiff alleges a violation of VARA which prohibits the intentional destruction of a work

of visual art of recognized stature. 17 U.S.C. §106A(a)(3)(a). “VARA amended existing copyright

law to add protections for two ‘moral rights’ of artists: the rights of attribution and integrity. Moral

rights are distinct from general copyrights, and they rest upon the “belief that an artist in the process

of creation injects his spirit into the work and that the artist’s personality as well as the integrity

of the work, should therefore be protected and preserved.” Cohen v. G&M Realty L.P., 988

F.Supp.2d 212, 215 (E.D. N.Y. 2013). These moral rights protect against the destruction of the

work of art. Id. However, under VARA, the artist’s right against destruction protects only works

of “recognized stature.” Id.

           A work of recognized stature is one “viewed as meritorious” and “recognized by art

experts, other members of the artistic community, or by some cross-section of society.” Cohen,

988 F.Supp.2d at 217. The element of recognized stature is also work-specific; the inquiry does

not center on whether the artist is recognized, but whether the work itself has achieved recognition

and stature. See id (the Court’s “authority under VARA is consequently limited to determining

whether a particular work of visual art that was destroyed was one of recognized stature, and if so,

what monetary damages the creator of each work is entitled to”)(emphasis in original); see also

Scott v. Dixon, 309 F. Supp. 2d 395, 400 (E.D.N.Y. 2004)(“[w]hen determining whether a work

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of art is of recognized stature under VARA, it is not enough that works of art authored by the

plaintiff, other than the work sought to be protected, have achieved such stature. Instead, it is the

artwork that is the subject of the litigation that must have acquired this stature”); see also Carter

v. Helmsley-Spear, Inc., 861 F.Supp. 303 (S.D.N.Y. 1994); rev’d and vacated in part and aff’d in

part, by 71 F.3d. 77 (2d Cir. 1995) (discussing whether a specific work of visual art may qualify

as one of recognized stature). Courts have also considered the relative transience of a work of art

when considering its suitability for protection under VARA as a work of recognized stature. See

Cohen, 988 F.Supp.2d at 213 (noting that aerosol artists “understood that the nature of the exterior

aerosol art on … buildings was transient”). An indication of transience suggests that, though a

work of art may be meaningful and significant to a specific moment in time, it is not an established

work of recognized stature protected by VARA.

       Plaintiff fails to plead facts showing the mural in question is a work of recognized stature.

Plaintiff claims that she has previously sold a painting for over $100,000, that she has been featured

in GQ magazine, and that “Walt Disney featured one of her spray-painted wall murals in its New

York exhibition celebrating the 90th anniversary of Mickey Mouse.” (Doc. 1, ¶¶ 3, 16-19). But

these allegations do not support a finding that the mural at issue was of recognized stature, as

required for the survival of Plaintiff’s VARA claim. Cohen, 988 F.Supp.2d at 217. With respect

to the graffiti mural itself, Plaintiff includes a picture of the mural, (doc. 1, p. 5, figure 2), and

alleges, in conclusory fashion, that the mural was of “recognized stature due to its recognition on

social media and in the press” (doc. 1, ¶ 69). These allegations fall woefully short of stating a claim

that the mural, depicting an assortment of cultural and environmental elements, including the

transient, political message of “Vote 2020,” constitutes a work of recognized stature, one that is

viewed as meritorious, “recognized by art experts, other members of the artistic community, or by



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some cross-section of society” as having merit and intrinsic worth as a lasting work of art. Cohen,

988 F.Supp.2d at 217. For this reason, Count V of Plaintiff’s Complaint should be dismissed for

failing to state a claim under VARA.

   IV.      Plaintiff’s state law claim for tortious injury to property is barred against City by
            sovereign immunity as a matter of law (Count VI).
         Plaintiff alleges in Count VI that City failed to exercise reasonable care in trespassing on

Plaintiff’s property and destroying her work of art. (Doc. 1, ¶¶ 72-81). This claim must be

dismissed because Plaintiff does not provide any facts demonstrating that City’s right to sovereign

immunity has been waived in this matter.

         Under Missouri law, sovereign immunity renders public entities “immune from suit for

their negligent acts unless the General Assembly has expressly waived such immunity.” Phelps v.

City of Kansas City, 371 S.W.3d 909, 912 (Mo. App. W.D. 2012). As a general rule, City is

“entitled to sovereign immunity.” Richardson v. City of St. Louis, 293 S.W.3d 133, 136 (Mo. App.

E.D. 2009). There are few exceptions to sovereign immunity. Express waivers of sovereign

immunity arise where a person sustains injuries (1) directly resulting from the negligent acts or

omissions by public employees arising out of the operation of motor vehicles or (2) caused by a

dangerous condition of a public entity’s property.” § 537.600 RSMo. Municipalities also may

waive sovereign immunity under § 537.610 RSMo. by purchasing a liability insurance policy from

an insurance company, but only to the extent of the insurance policy purchased. State ex rel. Bd.

of Trustees of City of N. Kansas City Mem’l Hosp. v. Russell, 843 S.W.2d 353, 360 (Mo. 1992). In

addition, municipalities are entitled to sovereign immunity when engaged in “governmental”

functions, but not “proprietary” functions. Southers v. City of Farmington, 263 S.W.3d 603, 609

(Mo. banc 2008).




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        Notably, sovereign immunity is not an affirmative defense; rather, the plaintiff bears the

burden of pleading specific facts giving rise to an exception to sovereign immunity when suing a

public entity. Townsend v. Eastern Chemical Waste Systems, 234 S.W.3d 452, 470 (Mo. Ct. App.

W.D. 2007); Newsome v. Kan. City, 520 S.W.3d 769. 775-76 (Mo. 2017). In order to state a claim,

plaintiff must plead specific facts showing that the claim comes within an exception to sovereign

immunity. A.F. v. Hazelwood Sch. Dist., 491 S.W.3d 628, 635 (Mo. App. 2016) (finding plaintiff’s

allegation in pleading that government’s “insurance covered this ‘incident’ is conclusory, and the

allegation that the coverage therefore waived sovereign immunity is a conclusion of law”); see

also Epps v. City of Pine Lawn, 353 F.3d588, 594 (8th Cir. 2003) (citing Burke v. City of St. Louis,

349 S.W.2d 930 (Mo. 1961)).

        Plaintiff alleges that City is not entitled to sovereign immunity because the “city of St.

Louis has obtained self-insurance from the Public Facilities Protection Corporation (“PFPC”). The

2019 Comprehensive Annual Financial Report of the City of St. Louis states that the ‘PFPC’ is

reported as if it were part of the primary government because its sole purpose is to provide the City

with a defined and funded self-insurance program for claims, judgments, and other related legal

matters.” (Doc. 1, ¶ 83). Similarly, Plaintiff alleges that City “has waived sovereign immunity by

insuring itself through Operation Brightside, Inc.’s policy,” and includes a copy of the City Board

Bill establishing Operation Brightside. (Doc. 1, ¶ 85). Additionally, Plaintiff alleges City was

engaged in a proprietary function when it destroyed the mural, and is therefore not immune from

suit. (Doc. 1, ¶ 87).

        Mo. Rev. Stat. §537.610 provides the following explanation of the mechanics of an

insurance-related waiver of sovereign immunity: “Sovereign immunity for the state of Missouri

and its political subdivisions is waived only to the maximum amount of and only for the purposes



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covered by such policy of insurance purchased pursuant to the provisions of this section and in

such amount and for such purposes provided in any self-insurance plan duly adopted by the

governing body of any political subdivision of the state.” Therefore, pursuant to §537.610, when

a public entity purchases liability insurance or lawfully adopts a self-insurance plan to cover tort

claims, sovereign immunity is waived only to the extent of the amount provided and for the specific

purposes set forth in the insurance plan. Langley v. Curators of Univ. of Missouri, 73 S.W.3d 808,

811 (Mo. App. 2002). Whether sovereign immunity is waived in a particular case depends on

whether the plaintiff’s claim falls within the purposes covered by the defendant’s policy. Hummel

v. St. Charles City R-3 Sch. Dist., 1114, S.W.3d 282, 284 (Mo. App. 2003).

        Pleading the existence of a “self-insurance program” supported by a reference to City’s

2019 Comprehensive Annual Report, which makes mere note of the PFPC, is insufficient to

establish a waiver of sovereign immunity for Plaintiff’s claim of tortious injury to property.

Plaintiff has not pled any facts supporting the conclusion that an insurance plan was purchased, or

that a self-insurance plan was duly adopted by the governing body of the City for Plaintiff’s claim

of tortious injury to property. “There are a number of provisions that are essential to an insurance

policy. The policy must identify: the ‘insured,’ the individual or entity with the interest at risk; the

‘coverage’ or ‘insuring agreement,’ the subject matter and the contingency insured against; the

‘period,’ the dates prescribing the duration of the risk or contingency insured against; and the

‘limits,’ the amount the insurer is liable to pay for any given risk up to a specified amount.” Todd

v. Mo. United Sch. Ins. Council, 223 S.W.3d 156, 160 (Mo. 2007). Because Plaintiff has not

identified any insurance policy, nor has she alleged anything other than the conclusion that an

unidentified policy covers the claims in this case, Count VI should be dismissed. See Perkins v.

Derrick Frye, No. 20CV1433 HEA, 2020 U.S. Dist. LEXIS 232334 (E.D. Mo. Dec. 10, 2020).



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       Similarly, Plaintiff has not pled the existence of any City ordinance establishing a self-

insurance plan that would cover Plaintiff’s claim of tortious injury to property. The only existing

self-insurance plan that was duly adopted by the governing body of the City of St. Louis is provided

in City Ordinance 57821, codified as St. Louis, Mo. Mun. Code § 4.12.030. Exhibit B. That plan

provides coverage only for physical injuries to persons, not injuries to property as Plaintiff alleges

here, arising out of the negligent operation of a motor vehicle or from a dangerous condition of

public property. Those two categories of claims are already specifically waived by state statue.

RSMo. §537.600. As such, Plaintiff fails to allege the existence of any insurance plan which would

cover her claim for tortious injury to property, and so, City is entitled to sovereign immunity and

Count VI should be dismissed.

        Similarly, Plaintiff’s allegations fail to establish that City’s sovereign immunity has been

waived because of its relationship with Operation Brightside, Inc., and because Operation

Brightside, Inc., is presumed to have insurance coverage. Here again, Plaintiff fails to show the

existence of an actual policy of insurance, and instead offers the conclusory allegation that the City

is covered by Operation Brightside’s presumably existing insurance. Plaintiff alleges that a City

Board Bill provides that City officials were authorized to execute and deliver a cooperation

agreement with Operation Brightside, Inc., “substantially in the form” of an exhibit attached to the

Board Bill, and that this exhibit, the proposed contract between Operation Brightside and the City,

provides that Operation Brightside was required to maintain “any existing liability insurance

policies” and add the City as additional insureds. (Doc. 1-2, p. 3). Plaintiff does not plead specific

facts showing the existence of an actual contract between the City and Operation Brightside, Inc.

or the existence of an insurance policy covering Operation Brightside, Inc, or that said insurance

policy covers Plaintiff’s claim for tortious injury to property. This is another instance of deficient



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and conclusory pleading that cannot succeed at showing a waiver of sovereign immunity. See

Perkins v. Derrick Frye, No. 20CV1433 HEA, 2020 U.S. Dist. LEXIS 232334 (E.D. Mo. Dec. 10,

2020).

         Additionally, Plaintiff’s allegations that City’s actions in painting over the graffiti mural

constitute the performance of a propriety function are not supported by law, and do not establish a

waiver of sovereign immunity. As Plaintiff points out, City is not shielded by sovereign immunity

when performing proprietary rather than governmental functions. Crouch v. City of Kansas City,

444 S.W.3d 517, 521 (Mo. App. 2014). Governmental functions are performed for the common

good of all. Proprietary functions entail acts that are performed for the special benefit or profit of

the municipality. State ex rel. City of Lee's Summit v. Garrett, 568 S.W.3d 515, 519 (Mo. App.

2019) (internal citations omitted). When considering whether a function is governmental or

proprietary, the court does “not assess the particular performance of a specific event but rather the

general nature of the activity being performed.” State ex rel. City of Lee's Summit v. Garrett, 568

S.W.3d 515, 521 (Mo. App. 2019). Additionally, the fact that the municipality may charge a fee

for the public service “does not transform a governmental function into a proprietary one.” Id.

         Specific to Plaintiff’s allegations of City performing a proprietary function, Plaintiff

alleges only that City “destroyed the Mural pursuant to Defendant’s broad prohibition on ‘graffiti,’

codified at St. Louis, Mo. Mun. Code §15.77 et seq. (the ‘Graffiti Prohibition’).” (Doc. 1, ¶ 4).

However, “[i]t is well established that enforcement of ordinances is a governmental function, not

a proprietary function….” State ex rel. City of Lee's Summit v. Garrett, 568 S.W.3d 515, 521 (Mo.

App. 2019) (quoting State ex rel. City of Nev. v. Bickel, 267 S.W.3d 780, 782 (Mo. App. 2008)).

Thus, Plaintiff’s allegations that the City’s action in enforcing the Ordinance is a proprietary




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function, rather than a governmental function, is not supported by law, and so Count VI should be

dismissed as City is entitled to sovereign immunity.

                                        CONCLUSION

       Because Plaintiff fails to state a claim under the First Amendment, Fourteenth Amendment,

VARA, and Missouri’s tortious injury to property, Plaintiff’s claims against City should be

dismissed.


                                                       Respectfully submitted,
                                                       MATT MOAK
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                                CERTIFICATE OF SERVICE

       I hereby certify the foregoing was electronically filed on September 17, 2021, with the
Court for service by means of Notice of Electronic Filing upon all attorneys of record.

                                                                                  /s/ Abby Duncan




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